         Case 1:19-cr-00427-LTS Document 42
                                         41 Filed 10/27/20
                                                  10/26/20 Page 1 of 4




                                            October 26, 2020

By ECF

Honorable Laura Taylor Swain
United States District Court                                 MEMO ENDORSED
Southern District of New York
500 Pearl Street
New York, New York 10007

Re:    United States v. Larry Farmer, 19 Cr. 427 (LTS)

Dear Judge Swain:

        I write on consent (Assistant U.S. Attorney Brett Kalikow) to respectfully request
that the Court extend Mr. Farmer’s surrender date – which is currently November 12, 2020
– by 60 days in light of the COVID-19 pandemic and Mr. Farmer’s responsibilities at work,
which will last through the end of this year. On March 12, 2020, the Court sentenced Mr.
Farmer to a term of 60 months’ imprisonment, and set an initial surrender date of May 14,
2020, which has been adjourned three times due to the pandemic.

        We are seeking another adjournment for two reasons: first, Mr. Farmer has very
significant work responsibilities through December, and allowing him to complete his work
will make his eventual reentry into the community significantly easier. Mr. Farmer has
worked at the same job site for over nine months, involving the construction of a large
commercial building in Queens. Mr. Farmer was promoted to foreman, and now serves as
the field superintendent for the afternoon shift, which makes him responsible for over 60
laborers. Mr. Farmer has also been designated the “competent person” by the general
contractor, which is the person “capable of identifying existing predictable hazards in the
surroundings or conditions that are unsanitary, hazardous or dangerous, and who has
authorization to take prompt corrective measures to eliminate such hazards.” See letter of
Ronald Figliolia dated August 3, 2020, attached as Exhibit A.

          By working through December, Mr. Farmer expects to receive bonuses at
Thanksgiving and Christmas, which will help his family financially while Mr. Farmer is
incarcerated. More importantly, by leaving on good terms when the job is completed – and
it is on schedule – Mr. Farmer will vastly increase his employability upon his release, as he
         Case 1:19-cr-00427-LTS Document 42
                                         41 Filed 10/27/20
                                                  10/26/20 Page 2 of 4

Honorable Laura Taylor Swain                                                            Page 2
October 26, 2020

Re:    United States v. Larry Farmer, 19 Cr. 427 (LTS)

will have employers who will want to hire him back, as well as good references. Secondly,
the Government has pointed out that Mr. Farmer’s body mass index makes him more
vulnerable to COVID, which is still rampant in the federal prison system.

       Thank you for your consideration of this request.

                                           Respectfully submitted,


                                            /s/
                                            Martin S. Cohen
                                            Ass’t Federal Defender
                                            (212) 417-8737

Cc:    Brett Kalikow, Esq., by ECF




The request is granted. The surrender date is extended to January 14, 2021.
DE# 41 resolved.
SO ORDERED.
10/27/2020
/s/ Laura Taylor Swain, USDJ
Case 1:19-cr-00427-LTS Document 42
                                41 Filed 10/27/20
                                         10/26/20 Page 3 of 4




                      Exhibit A
Case 1:19-cr-00427-LTS Document 42
                                41 Filed 10/27/20
                                         10/26/20 Page 4 of 4
